                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

MAX STORY, et al., on behalf of
themselves and all others similarly
situated,

             Plaintiffs,

v.                                                    CASE NO. 3:19-cv-724-TJC-SJH

HEARTLAND PAYMENT
SYSTEMS, LLC, etc.,

           Defendant.
________________________________/

                                       ORDER

      THIS CAUSE is before the Court on Defendant Heartland Payment Systems,

LLC’s Unopposed Motion for Leave to Seal Pursuant to Local Rule 1.11 (“Motion”).

Doc. 276. The Motion is due to be denied.

      By way of background, on April 1, 2025, Plaintiffs filed a motion for

preliminary approval of class action settlement (“Motion for Approval”). Doc. 271.

Plaintiffs filed their Motion for Approval in the public record, but with certain

redactions. Id. Contemporaneously, Plaintiffs filed a motion to seal, seeking to file the

complete and unredacted Motion for Approval under seal (“Prior Motion to Seal”).

Doc. 272.

      In the Prior Motion to Seal, Plaintiffs sought sealing on the sole basis that

Defendant, Heartland Payment Systems, LLC (“Heartland”), had designated material

confidential under a Stipulated Protective Order (“Protective Order”), Doc. 162. See
Doc. 272 at 2. However, Plaintiffs took no position on whether good cause supported

the sealing, instead deferring to Heartland to carry its burden to demonstrate sealing

was warranted. Id. (citing Local Rule 1.11(c)).

       On April 18, 2025, the Court denied the Prior Motion to Seal. Doc. 274. As the

Court explained in part:

       Heartland had 14 days after service of the [Prior Motion to Seal] to “file
       a memorandum supporting the seal.” See Local Rule 1.11(c). It did not.
       Thus, no good cause for sealing has been shown. See Lingard v. Holiday
       Inn Club Vacations, Inc., No. 6:23-cv-323-JSS-RMN, 2024 WL 3708037,
       at *1 (M.D. Fla. July 15, 2024) (“Plaintiffs filed their Motion seeking to
       provisionally seal exhibits to their motion for class certification … and
       provided no basis apart from the parties’ agreement that the materials
       should be sealed. Defendants have not responded to the Motion, nor
       have they provided a memorandum establishing good cause to support
       the seal. The court therefore finds that good cause does not exist to
       maintain the documents under seal.”) (internal citations omitted); see also
       Lingard v. Holiday Inn Club Vacations, Inc., No. 6:23-cv-323-JSS-RMN,
       2024 WL 3666447, at *1 (M.D. Fla. July 19, 2024).

Id. at 2-3.1 The Court thus directed the Clerk to unseal the unredacted Motion for

Approval at docket entry 272-1. Id. at 3. The Court stayed such unsealing for 14 days

in accordance with Local Rule 1.11(d). Id.

       Heartland filed the instant Motion on April 28, 2025. Doc. 276. In the Motion,

Heartland attaches a second unredacted copy of Plaintiffs’ Motion for Approval, Doc.


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         The Court further explained that the applicable Protective Order does not purport to
authorize any filings under seal, which, in any event, would not be consistent with Local Rule
1.11(a). See id. at 2 n.1. The Court also noted that even if it were otherwise inclined to grant
the Prior Motion to Seal, which it was not, the limited requested duration of sealing in that
motion had passed insofar as Heartland had opted not to substantiate the sealing within the
time required by Local Rule 1.11(c). See id. at 3 n.2.

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276-1, “and requests that the Court allow Heartland to maintain under seal limited

redactions in Plaintiffs’” Motion for Approval. Doc. 276 at 1 (citing Doc. 271).2 The

Motion is due to be denied.

       First, the Motion is not properly raised and is untimely. Heartland does not seek

to file anything new under seal. Rather, it belatedly attempts to argue in support of

some of the sealing sought but ultimately rejected by the Court in the Prior Motion to

Seal. See id. But Heartland has forfeited such arguments. Plaintiffs properly filed the

Prior Motion to Seal in accordance with Local Rule 1.11. Heartland could have, but

failed to, timely support that motion to seal with a supporting memorandum within

14 days. See Local Rule 1.11(c). Indeed, even if the attachment to Heartland’s own

Motion were to remain sealed, the Court has already ordered the unsealing of the full

Motion for Approval at docket entry 272-1 when ruling on the Prior Motion to Seal.

See Doc. 274.3 By operation of Local Rule 1.11(d), as confirmed by the Cour’s prior

Order, such unsealing was stayed for 14 days “to permit a motion to reconsider, for

review, to withdraw the item, or for other relief.” See id. at 3; Local Rule 1.11(d). But

Heartland does not purport to seek any relief of the sort contemplated by Local Rule




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          Heartland essentially seeks to seal some, but not all, of the information at issue in
Plaintiffs’ Prior Motion to Seal concerning the redactions to the publicly filed version of the
Motion for Approval. See generally id.
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        Unable to confront head on the issue of untimeliness, Heartland’s Motion does not
seek any relief as to docket entry 272-1, the unredacted Motion for Approval that the Court
has ordered be unsealed. See generally Doc. 276; see also Doc. 274 at 3.
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1.11(d)—reconsideration, review, withdrawal, or the like. See generally Doc. 276.4

       At bottom, though not presented as such, Heartland seeks reconsideration of

the Court’s April 18, 2025, Order based on an untimely supporting memorandum it

filed without leave. Such relief is inappropriate. Heartland has not acknowledged,

much less satisfied, the heavy burden for reconsideration. See U.S. All Star Fed’n, Inc. v.

Open Cheer & Dance Championship Series, LLC, No. 6:21-cv-2135-WWB-DCI, 2024 WL

414636, at *1-3 (M.D. Fla. Feb. 5, 2024); see also Gorbey v. Davis, No. 5:23-cv-429-WFJ-

PRL, 2024 WL 1619372, at *1 (M.D. Fla. Apr. 15, 2024); Graziano v. Schelling, No.

2:22-cv-34-SPC-KCD, 2023 WL 6586088, at *1 (M.D. Fla. Oct. 10, 2023). To the

contrary, Heartland simply seeks a second bite at the apple to raise arguments it could

and should have timely raised when the Prior Motion to Seal was filed and before the

Court’s ruling on the same. Such is not a persuasive basis for reconsideration. See U.S.


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           Heartland apparently seeks to restart the entire process with its own motion to seal.
See id. at 3. But contrary to Heartland’s suggestion, the Court’s earlier Order did not stay
unsealing “unless Heartland filed a motion for relief under Local Rule 1.11” within 14 days.
Id. at 3. Rather, unsealing was stayed by 14 days only pursuant to Local Rule 1.11(d), not to
reopen the entirety of Local Rule 1.11. See Doc. 274 at 3. Though not argued, to the extent
Heartland may contend that its Motion falls within the “other relief” provision of Local Rule
1.11(d), the undersigned disagrees. First, such a construction would render the time limits in
Local Rule 1.11(c) superfluous and meaningless. Parties would be free to ignore (as Heartland
did here) the time limitations for supporting a motion to seal filed by another party, force the
Court to do unnecessary work issuing an order, and only then purport to justify sealing in the
first instance with supporting authority thereby requiring another review and corresponding
order. That is untenable. Local Rule 1.11(d) simply mitigates the potential harm of an order
denying sealing by providing a brief stay and corresponding limited opportunity to seek relief
to challenge or obviate such a ruling; the “other relief” contemplated by the rule must be read
in context of the entire rule and in conjunction with the company it keeps. Cf. In re Brickwell
Inv. Corp., No. 89-cv-0715, 1997 WL 593820, at *2 (S.D. Fla. June 11, 1997); see also
Washington State Dep’t of Soc. & Health Servs. v. Guardianship Est. of Keffeler, 537 U.S. 371, 384
(2003).
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All Star Fed’n, 2024 WL 414636, at *1-3; see also Gorbey, 2024 WL 1619372, at *1;

Graziano, 2023 WL 6586088, at *1. Nor does Heartland acknowledge—much less

move to excuse with good cause and excusable neglect, see Fed. R. Civ. P. 6(b)(1)(B)—

its failure to timely support the sealing it now seeks, see MSP Recovery Claims, Series LLC

v. AIX Specialty Ins. Co., No. 6:18-cv-1456-Orl-40DCI, 2019 WL 10749717, at *2-3

(M.D. Fla. Dec. 26, 2019). Thus, the Motion is due to be denied.

       Though the foregoing is sufficient to deny the Motion, even if the Court were

to excuse the foregoing and consider the Motion on the merits as timely, denial would

still be appropriate. The public has a “common-law right of access to judicial

proceedings,” which “includes the right to inspect and copy public records and

documents.” Romero v. Drummond Co., Inc., 480 F.3d 1234, 1245 (11th Cir. 2007)

(quotations omitted). This common-law right of access applies to materials “filed in

connection with any substantive pretrial motion, unrelated to discovery[.]” Id. The

common-law “right of access is not absolute, however.” Id. It “may be overcome by a

showing of good cause, which requires balanc[ing] the asserted right of access against

the other party’s interest in keeping the information confidential.” Id. at 1246

(quotations omitted) (listing factors considered in balancing these interests). “Sealing

is not authorized by a confidentiality agreement, a protective order, a designation of

confidentiality, or a stipulation.” Local Rule 1.11(a).

       Heartland makes two brief arguments in support of sealing, neither of which is

persuasive. First, Heartland contends that sealing is necessary because the information

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proposed for redaction and sealing is “derived from confidential documents” and is

“confidential and sensitive” such that it “is unique to Heartland and not of concern to

the public.” Doc. 276 at 5, 7. But Heartland’s conclusory say-so is insufficient to carry

its burden, overcome the presumption of public access, and justify sealing. See U.S. All

Star Fed’n, 2024 WL 414636, at *2-3 (collecting authority that “mere labels do not

satisfy Local Rule 1.11” and declining to reconsider prior ruling and seal items the

Court acknowledged were “‘financial’ in nature’” as “that characteristic alone does

not overcome the presumption of openness”); Rodriguez v. Magic Burgers, LLC, No.

6:19-cv-1656-CEM-LRH, 2021 WL 3017528, at *2 (M.D. Fla. Mar. 24, 2021) (“The

Defendant’s conclusory statement that the documents at issue contain proprietary

information, trade secrets, and are subject to protection under the parties’

confidentiality agreement falls short of rebutting the presumption in favor of openness.

First, an agreement to seal documents has no bearing on whether the documents in

question should be sealed. Second, the Defendant has not shown that the documents

it wishes to seal contain proprietary information or constitute trade secrets. … The

Defendant has not presented any evidence, such as a declaration or affidavit, showing

that the documents at issue meet any of the foregoing elements.”) (internal citations

omitted); see also SAG FL, LLC v. Kia Am., Inc., No. 6:23-cv-2117-JSS-DCI, 2025 WL

1167820, at *2 (M.D. Fla. Apr. 22, 2025); Local Rule 1.11(a). This is particularly true

in this class-action case, where, as discussed further below, the public interest in access

is even higher. See, e.g., Reed v. CRST Van Expedited, Inc., No. 8:17-cv-199-T-27CPT,

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2018 WL 5077179, at *1 (M.D. Fla. Apr. 17, 2018) (“And as the case is here, in class

actions—where by definition some members of the public are also parties to the

[case]—the standards for denying public access to the record should be applied … with

particular strictness.”) (internal quotations omitted); see also MSP Recovery Claims, Series

LLC v. United Auto. Ins. Co., No. 20-cv-20887, 2021 WL 2980598, at *1 n.1 (S.D. Fla.

June 4, 2021).

       Heartland also argues that the Court has previously authorized sealing of the

underlying records from which the redacted portions of the Motion for Approval are

derived. See Doc. 276 at 4 (citing Doc. 205). That is unpersuasive for a few reasons.

First, the prior endorsed Order cited by Heartland was expressly subject to revisitation.

See Doc. 205. Second, it involved the entirety of the purportedly confidential records.

See id. Here, by comparison, only certain figures and arguments derived from those

records are at issue. To be sure, the redaction and sealing requested by Heartland is

limited; but so, in turn, is the corresponding exposure. The potential interest of

Heartland in redacting the excerpts at issue in the Motion for Approval is less than in

protecting both the underlying documents and corresponding discussions.

       Finally, context further warrants denial of the Motion. As discussed, the public

interest in access is heightened in class-action cases. See Reed, 2018 WL 5077179, at

*1; see also MSP Recovery Claims, 2021 WL 2980598, at *1 n.1. And that already acute

interest is, if anything, even higher in the current situation, given that the redactions at

issue pertain to the preliminary approval of a proposed settlement that would bind

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public class members. See, e.g., Dickerson v. Novartis Corp., No. 1:15-cv-1980-GHW,

2016 WL 9560056, at *2-3 (S.D.N.Y. Apr. 11, 2016) (“The presumption of public

access is particularly relevant in the class action context, given that the judicial

documents may be relevant to an absent class members’ decision to opt out or object

to the proposed settlement, as well as ‘[t]he public interest in the fair administration of

class actions.’ …. [P]ublic access to the entire document plays a significant role in the

process in question—preliminary approval of the settlement—particularly so, given

that prospective class members would broadly release claims as part of the

settlement.”).

       Here, for example, Heartland does not dispute that (i) “Plaintiffs have indicated

that the redacted items [for which sealing is requested] are necessary to support their”

Motion for Approval; and (ii) Plaintiffs “rely on them to make their arguments.” Doc.

276 at 4-5. Heartland even “agrees that it is necessary” to allow “Plaintiffs to present

this evidence to the Court in connection with Plaintiffs’” Motion for Approval. Id. at

5. If the information at issue is necessary and appropriate for the Court’s consideration

as to the proposed settlement, so too is it necessary for consideration by members of

the public—including putative class members and potential objectors.5 Heartland has

not discussed or satisfactorily addressed this issue, which further warrants denying the



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         This context makes Heartland’s conclusory assertion that the information at issue is
“not of concern to the public[,]”see Doc. 276 at 7, even more untenable, see Dickerson, 2016
WL 9560056, at *2-3; see also Reed, 2018 WL 5077179, at *1.

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Motion.6 Ultimately, balancing the competing interests, Romero, 480 F.3d at 1245, on

this record, the Motion is due to be denied.

       Accordingly, it is ORDERED:

       1.      The Motion (Doc. 276) is denied.

       2.      Absent a timely motion for relief as set forth in Local Rule 1.11(d), within

14 days hereof, the Clerk is directed to unseal docket entries 272-1 and 276-1.

        DONE AND ORDERED in Jacksonville, Florida, on May 7, 2025.




Copies to:

Counsel of Record




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          The undersigned does not suggest that sealing is never appropriate in connection with
class-settlement-approval papers. See, e.g., In re Anthem, Inc. Data Breach Litig., 327 F.R.D. 299,
325 (N.D. Cal. 2018). But sufficient justification for sealing is not apparent on this record.
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